




Filed 7/11/18 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2018 ND 159









In the Matter of the Adoption of B.A.T.



M.L.T. and S.G.T., 		Petitioners and Appellees



v.



J.C.T., 		Respondent and Appellant







No. 20180137







Appeal from the Juvenile Court of Eddy County, Southeast Judicial District, the Honorable James D. Hovey, Judge.



AFFIRMED.



Per Curiam.



Ashley L. Lies, New Rockford, ND, for petitioners and appellees.



Alyssa L. Lovas, Bismarck, ND, for respondent and appellant.

Adoption of B.A.T.

No. 20180137



Per Curiam.

[¶1]	
The biological father of a minor child appealed from an order terminating his parental rights and granting a petition for stepparent adoption. &nbsp;The father argues the juvenile court erred in finding he abandoned the child and in terminating his parental rights. &nbsp;We conclude the juvenile court did not clearly err in finding the father abandoned the child and in terminating his parental rights. &nbsp;We affirm under N.D.R.App.P. 35.1(a)(2). 

[¶2]	Gerald W. VandeWalle, C.J.

Jon J. Jensen

Lisa Fair McEvers

Daniel J. Crothers

Jerod E. Tufte




